Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 1 of 12




                       Exhibit
                         1
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 2 of 12




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION



        UNITED STATES OF AMERICA,
        vs.                                                Case No. 23-80101-CR
        DONALD J. TRUMP, et al.,                           CANNON/REINHART

                        Defendants.


        PRESIDENT DONALD J. TRUMP’S (PROPOSED) SUR-REPLY BASED ON NEWLY
             DISCOVERED EVIDENCE OF SCO DISCOVERY VIOLATIONS AND
                              MISREPRESENTATIONS

                President Donald J. Trump respectfully submits this Sur-Reply to address conceded

    discovery violations and misrepresentations to the Court by the Special Counsel’s Office, as these

    issues relate to President Trump’s Motion for Adjournment of the May 9, 2024 deadline for CIPA

    § 5 Notice and Rule 16 expert disclosures. ECF No. 452. Although President Trump will likely

    seek leave to file additional motions based on these issues, the most pressing concern is that the

    Office’s recent disclosures serve as yet another basis for granting the pending motions to adjourn

    the May 9, 2024 deadline for CIPA § 5 Notice and expert notice. See ECF Nos. 452, 461. 1

              I.   Background

                At approximately 3:30 pm on the afternoon of Friday, May 3, 2024, the Special Counsel’s

    Office disclosed to the Court and the Defendants that the prosecution team has failed to maintain



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      As noted below, we sought to confer with the Special Counsel’s Office regarding these issues by
    letter dated May 4, 2024. On May 5, 2024, the Office confirmed that they continue to oppose the
    pending adjournment request and will respond to our discovery requests “promptly.” We are filing
    this Sur-Reply in any event because President Trump is currently participating in proceedings in
    People v. Trump, Ind. No. 71543-23, and in light of the impending hearing on May 8, 2024, as
    well as the upcoming deadlines on May 9, 2024, which are the subject of other pending motions.
                                                       1
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 3 of 12




    the integrity of the contents of at least some of the boxes obtained from Mar-a-Lago. See ECF No.

    522. Using a dismissive and condescending tone to address serious contentions relating to these

    issues raised by Waltine Nauta, the Office admitted that “there are some boxes where the order of

    items within that box is not the same as in the associated scans.” Id. at 8. The Office then

    attempted to bury in a footnote their concession that the disclosure is “inconsistent with what

    Government counsel previously understood and represented to the Court.”                Id. at 8 n.3.

    (emphasis added). Although the Office cited to an apparent misrepresentation at the April 12,

    2024 conference, the Office has repeatedly—“essentially from day one,” 7/18/23 Tr. 62—provided

    full-throated but now concededly false assertions of compliance with their discovery obligations.

            Moreover, the May 3, 2024, submission by the Special Counsel’s Office contains several

    vague assertions that only raise more questions regarding the Office’s failure to maintain the

    integrity of the evidence in the boxes. For example, the Office indicated for the first time that the

    “filter team” was “not focused on maintaining the sequence of documents within each box.” ECF

    522 at 6. That concession alone implicates every box at issue, as well as the “scans.” Id. at 8. The

    gravity of these issues is illustrated by the fact that the Office now claims that the “best evidence

    available” of the boxes’ contents are scans prepared by “an outside vendor” in connection with a

    civil case that lacked the constitutional, statutory, and ethical safeguards that guide discovery

    obligations in this criminal case. Id. at 7, 8.

            Regarding the so-called “cover sheets” that the prosecution team used as replacements for

    allegedly classified documents in the boxes, the Special Counsel’s Office wrote that the FBI

    “generally” had “replaced the handwritten sheets with classified cover sheets annotated with the

    index code.” ECF No. 522 at 7. But the Office did not explain why they could not offer a precise,

    categorical representation about the process that was used instead of a “general” one. See id. The



                                                      2
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 4 of 12




    Office also admitted that in “many but not all instances, the FBI was able to determine which

    document with classification markings corresponded to a particular placeholder sheet.” Id.

    (emphasis added). This further suggests that even if the scans are the “best evidence available,”

    they are not a reliable record of the boxes’ contents. The “not all” caveat is, however, consistent

    with the recent and inexplicable disclosure that the “filter team” was “not focused” on the order of

    documents in the boxes that are at the heart of this case. Id. at 6.

           On May 4, 2024, counsel for President Trump sent a letter with discovery requests relating

    to these issues to the Special Counsel’s Office, which is attached hereto as Exhibit A. The Office

    responded on May 5, indicating that they continue to oppose our request for an adjournment of the

    May 9 deadlines—notwithstanding the recent disclosures and that President Trump and counsel

    have been at a criminal trial in Manhattan since April 15, 2024—and that they will respond to our

    discovery requests “promptly.”

         II.      Discussion

            President Trump and counsel are deeply troubled to be learning of these facts

    approximately 11 months after the charges were filed in this case. The May 3, 2024, disclosures

    by the Special Counsel’s Office raise questions about the investigation and the handling of

    evidence that must be addressed before the matter proceeds.

               During the review of discovery and preparation of pretrial motions, President Trump's

    counsel had relied on the scans and believed that the location of allegedly classified documents

    within the boxes was exculpatory. Indeed, it was our understanding that most, and potentially all,

    of the charged documents were buried within the boxes and located next to other items that

    provided favorable context regarding, inter alia, when the document was placed in a box. It never

    occurred to us, until last Friday, that the prosecution team could not be trusted to perform the basic



                                                      3
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 5 of 12




    task of maintaining the integrity of such evidence despite the expansive resources at their disposal.

    That is why President Trump’s defense team has not inspected the boxes up to this point and

    instead focused on other aspects of our defense in motion practice and discovery review.

            Under Brady, the Special Counsel’s Office had, and continues to have, an independent

    obligation to promptly make complete disclosures regarding the failure to maintain the sequence

    of the documents within the boxes at the time they were collected. See Kyles v. Whitley, 514 U.S.

    419, 442 n.13 (1995) (“There was a considerable amount of . . . Brady evidence on which the

    defense could have attacked the investigation as shoddy.”). These issues implicate, for example,

    President Trump’s motion to suppress evidence seized from Mar-a-Lago and the motion to dismiss

    based on prosecutorial misconduct. President Trump will move to compel further disclosures

    regarding these issues in the event the Office does not turn over the materials sought in the May

    4, 2024 letter. Moreover, after those further required disclosures, it is likely that President Trump

    will file additional motions for sanctions based on spoliation, including a motion to dismiss the

    charges if the Office cannot prove in a reliable way how it seized and handled the key evidence in

    the case, which will be a central issue at any trial.

            Finally, these issues are relevant to President Trump’s CIPA § 5 Notice and decisions

    regarding potential experts. Our review of classified discovery, including interviews regarding

    handling of classified documents during and after President Trump’s first term, was undertaken

    without the information in the May 3, 2024, disclosure. Defense counsel cannot reasonably be

    expected to specify classified information that they intend to offer at trial when the Office recently

    disclosed that one of the most basic premises of the criminal justice process—that the prosecution

    team can be trusted to maintain existing evidence—no longer applies. For example, if the case

    proceeds to trial or evidentiary hearings, President Trump will now seek to use classified



                                                       4
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 6 of 12




    information to cross-examine witnesses regarding appropriate procedures for handling classified

    information in connection with briefings and evidence in connection with investigations. Defense

    counsel will also need to re-review the classified discovery, among other things, to consider new

    defenses and potential expert notice based on these disclosures, such as defenses and experts that

    focus on the chain-of-custody and search-execution deficiencies. In addition to all of the other

    valid reasons to adjourn the May 9, 2024, deadlines, some of which have constitutional

    implications, 2 the Office’s recent disclosures regarding the mishandling of the contents of the

    boxes and prior misrepresentations to the Court require that the deadline be held in abeyance.




    2
     The trial in People v. Trump, Ind. No. 71543-23, is proceeding as scheduled. President Trump
    has been present for each trial day since April 15, 2024, and has not been able to participate in any
    of the classified communications that would be necessary to provide CIPA § 5 Notice or expert
    notice on May 9, 2024. Nor have Mr. Blanche and Mr. Bove, who are both representing President
    Trump at the trial in New York.
                                                     5
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 7 of 12




     Dated: May 6, 2024                          Respectfully submitted,

                                                 /s/ Todd Blanche
                                                 Todd Blanche (PHV)
                                                 toddblanche@blanchelaw.com
                                                 Emil Bove (PHV)
                                                 emil.bove@blanchelaw.com
                                                 BLANCHE LAW PLLC
                                                 99 Wall Street, Suite 4460
                                                 New York, New York 10005
                                                 (212) 716-1250


                                                 /s/ Christopher M. Kise
                                                 Christopher M. Kise
                                                 Florida Bar No. 855545
                                                 ckise@continentalpllc.com
                                                 Lazaro Fields
                                                 Florida Bar No. 1004725
                                                 lfields@continentalpllc.com
                                                 CONTINENTAL PLLC
                                                 255 Alhambra Circle, Suite 640
                                                 Coral Gables, Florida 33134
                                                 (305) 677-2707

                                                 Counsel for President Donald J. Trump

                                  CERTIFICATE OF SERVICE

          I, Christopher M. Kise, certify that on May 6, 2024, I electronically filed the foregoing

    document with the Clerk of Court using CM/ECF.

                                                      /s/ Christopher M. Kise
                                                      Christopher M. Kise




                                                  6
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 8 of 12




                       Exhibit
                         A
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 9 of 12




                                                                                                 TODD BLANCHE
                                                                                      ToddBlanche@blanchelaw.com
                                                                                                   (212) 716-1250

                                                          May 4, 2024

    Via Email
    Jay Bratt
    Julie Edelstein
    David Harbach
    Senior Assistant Special Counsels
    950 Pennsylvania Avenue NW
    Room B-206
    Washington, D.C. 20530

           Re:     United States v. Donald J. Trump, No. 23 Cr. 80101 (AMC)

    Dear Mr. Bratt, Ms. Edelstein, and Mr. Harbach:

           We write on behalf of President Donald J. Trump, pursuant to Rule 16(a)(1)(E), Brady,
    and Giglio, to request the documents and information set forth below relating to your May 3, 2024
    submission to the Court. See ECF No. 522.

            We are troubled by the concession in your May 3 submission that the prosecution team
    failed to preserve critical evidence relating to the location of documents within boxes obtained
    from Mar-a-Lago. The documents’ location constituted exculpatory information relating to, inter
    alia, the complete absence of culpable criminal intent by President Trump. Evidence relating to
    the mishandling of the boxes and documents is also independently discoverable. See Kyles v.
    Whitley, 514 U.S. 419, 442 n.13 (1995) (“There was a considerable amount of . . . Brady evidence
    on which the defense could have attacked the investigation as shoddy.”).

             Your failure to disclose the spoliation of this evidence until this month is an extraordinary
    breach of your constitutional and ethical obligations. Since the beginning of this case, our strategy,
    preparations, and arguments have been based on the basic premise that—biased as Jack Smith is
    in his futile efforts to help President Biden make up lost ground in the polls—the line prosecutors
    and agents would employ the minimal levels of professionalism and competence necessary to
    preserve evidence relating to the documents at the center of the charges. In addition to all of the
    legal flaws that we have identified in your efforts through pending pretrial motions, it is now clear
    that even the most fundamental premise of the criminal justice process does not apply in this case.
    Furthermore, your misrepresentations to Judge Cannon regarding this important issue are part of
    a pattern of inaccurate claims regarding the status and substance of discovery that have plagued
    this case from the start, as you have repeatedly and unjustly urged the Court to impose unworkable
    deadlines in connection with your election-interference mission.
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 10 of
                                      12
   May 4, 2024
   Page 2

           Irrespective of your views regarding whether this issue bears on CIPA practice by co-
   defendant Waltine Nauta—and we find your contentions to be self-serving and frivolous given
   your indefensible handling of the evidence at issue—you cannot seriously contend that your recent
   spoliation concession is irrelevant to President Trump’s pending pretrial motions, CIPA practice,
   and expert notice. As such, in addition to the discovery requests below, please let us know if you
   consent to the pending motion for an adjournment of the May 9, 2024 deadline. See ECF Nos.
   452, 458.

          We respectfully request a response as soon as possible. We plan to raise these issues with
   the Court on Monday, May 6, 2024.

     I.   Background

           Each of the Requests set forth below calls for production of documents irrespective of their
   classification level. As used herein, the term “documents” includes (i) all communications,
   including memoranda, reports, letters, notes, emails, text messages, and other electronic
   communications; (ii) hard copies and electronically stored information, whether written, printed,
   or typed; and (iii) all drafts and copies.

          The term “Boxes” means any and all boxes and redwelds obtained from Mar-a-Lago,
   whether pursuant to a subpoena, warrant, or otherwise, including but not limited to the boxes
   turned over to NARA, the redweld turned over by Evan Corcoran, and boxes seized in connection
   with the execution of a search warrant at Mar-a-Lago.

          The Requests call for specified documents in the possession of the prosecution team, as
   defined in our October 9, 2023 letter.

    II.   Requests

            1.     Please provide all documents relating to instructions provided to the “filter team,”
   including instructions regarding evidence handling and preservation. See ECF No. 522 at 6 (“The
   filter team took care to ensure that no documents were moved from one box to another, but it was
   not focused on maintaining the sequence of documents within each box.” (emphasis added)).

          2.      Please provide all documents relating to instructions provided to the “investigative
   team” that participated in the “on-site review,” including instructions regarding evidence handling
   and preservation. ECF No. 522 at 6.

          3.      Please provide all documents, including communications between and relating to,
   the execution of the search by the “filter team” and the “investigative team.” ECF No. 522 at 6.

           4.    Please provide all documents relating to chain of custody and access to the Boxes
   while they were “stored overnight at the FBI field office in Miami.” ECF No. 522 at 6.
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 11 of
                                      12
   May 4, 2024
   Page 3

           5.    Please provide all documents relating to chain of custody and access to the Boxes
   while they were “flown back to Washington, D.C., the next day.” ECF No. 522 at 6.

          6.      Please provide all documents relating to the process by which the FBI “generally
   replaced the handwritten sheets with classified cover sheets annotated with the index code.” ECF
   No. 522 at 7.

          7.       Please provide all documents relating to exceptions and/or deviations from the
   process that the FBI “generally” used to insert the “handwritten sheets.” ECF No. 522 at 7.

          8.     Please provide all documents relating to the factual basis for your assertion that
   “any handwritten sheets that currently remain in the boxes do not represent additional classified
   documents—they were just not removed when the classified cover sheets with the index code were
   added.” ECF No. 522 at 7.

           9.    Please provide all documents relating to the “instances” in which the FBI was not
   “able to determine which document with classification markings corresponded to a particular
   placeholder sheet.” See ECF No. 522 at 7 (“In many but not all instances, the FBI was able to
   determine which document with classification markings corresponded to a particular placeholder
   sheet.” (emphasis added)).

          10.      Please provide all documents relating to the “steps” that the “Government” has
   taken “to ensure that documents and placeholders remained within the same box as when they
   were seized, i.e., to prevent any movement of documents from one box to another.” ECF No. 522
   at 7.

          11.    Please provide all documents relating to the “personnel” who have “had access to
   the [B]oxes” and the “several reasons” that such access was granted. ECF No. 522 at 8.

           12.    Please identify the Boxes where you currently concede that “the order of items
   within that box is not the same as in the associated scans.” ECF No. 522 at 8.
Case 9:23-cr-80101-AMC Document 525-1 Entered on FLSD Docket 05/06/2024 Page 12 of
                                      12
   May 4, 2024
   Page 4

           13.     Please provide all documents, including but not limited to communications, relating
   to the inquiries and investigation that led to the disclosures in your May 3, 2024 submission.

                                                        Respectfully Submitted,

                                                        /s/ Todd Blanche
                                                        Todd Blanche
                                                        Emil Bove
                                                        Blanche Law PLLC

                                                        Christopher M. Kise
                                                        Chris Kise & Associates, P.A.

                                                        Attorneys for Donald J. Trump

   Cc:    Stanley Woodword
          Sasha Dadan
          Counsel for Waltine Nauta
          (Via Email)

          John Irving
          Larry Murrell
          Counsel for Carlos De Oliveira
          (Via Email)
